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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 EXXON MOBIL CORPORATION,

                Plaintiff,

 v.                                                     CIVIL ACTION NO. 3:16-cv-2921-N

 UNITED STATES OF AMERICA,

                Defendant.

                             PLAINTIFF’S NOTICE OF APPEAL

       Plaintiff Exxon Mobil Corporation (“ExxonMobil”) hereby appeals to the United States

Court of Appeals for the Fifth Circuit from the final judgment of the district court, entered in this

action on February 19, 2021 [Dkt. 292] (the “Judgment”); from any and all adverse rulings

incorporated in, antecedent to, or ancillary to the Judgment; and from any and all adverse

interlocutory orders, judgments, decrees, decisions, rulings, and opinions that merged into and

became part of the Judgment, that shaped the Judgment, that are related to the Judgment, and upon

which the Judgment is based, including but not limited to the district court’s order granting partial

summary judgment dated August 8, 2018 [Dkt. 80], the findings of fact and conclusions of law

dated February 24, 2020 [Dkt. 276], and the portion of the memorandum opinion denying

ExxonMobil’s request for additional findings of fact dated January 13, 2021 [Dkt. 290].

       Dated: April 9, 2021.




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